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              IN THE UNITED STATES DISTRICT COURT FOR THE
                      NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION



UNITED STATES OF AMERICA

v.                                                       CASES NO. 4:09cr73-RH/CAS
                                                                   4:12cv301-RH/CAS

REGINALD VOLTARE,

                  Defendant.

_______________________________/


                           ORDER DENYING THE § 2255 MOTION


         The defendant has moved under 28 U.S.C. § 2255 for relief from his

judgment of conviction. The motion is before the court on the magistrate judge’s

report and recommendation, ECF No. 347. No objections have been filed. This

order accepts the report and recommendation, adopts it as the court’s opinion, and

denies the § 2255 motion.

         A defendant may appeal the denial of a § 2255 motion only if the district

court or court of appeals issues a certificate of appealability. Under 28 U.S.C.

§ 2253(c)(2), a certificate of appealability may issue “only if the applicant has

made a substantial showing of the denial of a constitutional right.” Miller-El v.

Cockrell, 537 U.S. 322, 335-38 (2003); Slack v. McDaniel, 529 U.S. 473, 483-84

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(2000); Barefoot v. Estelle, 463 U.S. 880, 893 n.4 (1983); see also Williams v.

Taylor, 529 U.S. 362, 402-13 (2000) (setting out the standards applicable to a

§ 2254 petition on the merits). As the Court said in Slack:

         To obtain a COA under § 2253(c), a habeas prisoner must make a
         substantial showing of the denial of a constitutional right, a
         demonstration that, under Barefoot, includes showing that reasonable
         jurists could debate whether (or, for that matter, agree that) the
         petition should have been resolved in a different manner or that the
         issues presented were “adequate to deserve encouragement to proceed
         further.”

Slack, 529 U.S. at 483-84 (quoting Barefoot, 463 U.S. at 893 n.4). Further, in

order to obtain a certificate of appealability when dismissal is based on procedural

grounds, a petitioner must show, “at least, that jurists of reason would find it

debatable whether the petition states a valid claim of the denial of a constitutional

right and that jurists of reason would find it debatable whether the district court

was correct in its procedural ruling.” Slack, 529 U.S. at 484.

         The defendant has not made the required showing. This order thus denies a

certificate of appealability. Because the defendant has not obtained—and is not

entitled to—a certificate of appealability, any appeal by the defendant will not be

taken in good faith. I certify under Federal Rule of Appellate Procedure 24(a) that

any appeal will not be taken in good faith and that the defendant is not otherwise

entitled to proceed in forma pauperis on appeal. Accordingly,

         IT IS ORDERED:



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         1. The clerk must enter a judgment stating, “The defendant’s motion for

relief under 28 U.S.C. § 2255 is DENIED.

         2. The defendant’s application for a certificate of appealability is DENIED.

         3. Leave to proceed on appeal in forma pauperis is DENIED.

         SO ORDERED on December 11, 2014.

                                                         s/Robert L. Hinkle
                                                         United States District Judge




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